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                      THE UNITED STATES DISTRICT COURT
                    FORTHE MIDDLE DISTRICT OF PENNSYLVANIA


METSO PAPER USA, INC.

                      Plaintiff
       Y.                                            3:08-cy-0047
                                                     (JUDGE MARIANI)
GENERAL ELECTRIC COMPANY

                      Defendant


                                             ORDER

       On May 15, 2012, the Court conducted a telephonic conference in this matter. Plaintiff

was represented by Robert Stern, Esq. and Howard Rothenberg, Esq. Defendant was

represented by James Campbell, Esq. and Christopher Parkerson, Esq.

       The purpose of the conference was to determine the procedure to be followed in the

Daubert hearings to be held on Plaintiffs Motions In Limine (Docs. 84, 85, 87, 88, and 117) and

Defendant's Motions In Limine (Docs. 91, 92, 93, 94 and 95) originally scheduled to be held on

May 22, 2012. Set forth below is the procedure to be followed for the disposition of the

aforementioned Motions In Limine, as well as Plaintiffs Motion to Preclude Defendant From

Mentioning Insurance (Doc. 86), and Defendant's Motion In Limine to preclude evidence or

reference to the Plaintiffs claim for punitive damages (Doc. 96).

       NOW, TO WIT, THIS 21st DAY OF MAY, 2012, IT IS HEREBY ORDERED:

   1. On or before May 29, 2012, counsel for Defendant shall submit a written proffer to the

       Court and Plaintiff, detailing the content of the testimony to be offered at trial by each
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   expert witness: Joseph B. Sala ("Sala"), James Arthur Tompkins, Sr. ('Tompkins"),

   Donald J. Hoffman ("Hoffman"), and H.K. Kytomaa ("Kytomaa"). The proffer shall

   include the basis on which each such witness is qualified as an expert, the opinion

   testimony to be offered by the witness, and the reasons why such testimony is

   admissible under Federal Rules of Evidence 702 and 703. Should any of the witnesses

   whose testimony is at issue in the pending Motions In Limine be permitted to testify at

   trial and offer opinion evidence, such testimony and opinion evidence shall be limited to

   the matters expressly included in the proffer or any matter included by reasonable and

   necessary implication.

2. On or before June 12, 2012, counsel for Plaintiff shall submit written objections to the

   Court detailing all objections it has with respect to each proffer made by the Defendant,

   and specifically, to the admissibility of the opinions set forth in each such proffer.

   Plaintiff is required to support its objections with specific evidence contained in the

   record, including the deposition transcript of the proposed expert witness, as well as

   reference to any other exhibit of record and any legal authority it has to support its

   objection(s).

3. On or before June 26, 2012, Defendant may submit a written reply to any objections

   filed by Plaintiff, and in doing so, may rely upon any of the exhibits it submitted in

   support of its Motions or in opposition to Plaintiff's Motions In Limine.

4. The hearing scheduled to commence on May 22, 2012 (Doc. 128) is rescheduled for

   June 28,2012, at 9:30 a.m.

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5. At the hearing to be held on June 28, 2012, counsel for the parties shall present oral

   argument in support of their respective positions on the following outstanding motions:

   Motion to Preclude Defendant's Use of Joseph B. Sala (Doc. 84);

   Motion to Preclude Defendant's Use of James Arthur Tompkins, Sr. (Doc. 85);

   Motion to Preclude Defendant From Mentioning Insurance (Doc. 86);

   Motion to Preclude Defendant's Use of Donald J. Hoffmann (Docs. 87 and 117);

   Motion to Preclude Defendant's Use of Harri Kytomaa (Doc. 88);

   Motion In Limine to Preclude Information and Facts Related to Cases Where Donald J.
   Hoffman Was Retained by GE for Cases Unrelated to Metal Halide Lamps (Doc. 91);

   Motion In Limine to Preclude Testimony or Evidence Related to Analysis of Other Metal
   Halide Bulbs Performed by H.K. Kytomaa (Doc. 92);

   Motion In Limine to Preclude Testimony and Evidence of Other Manufacturers' Metal
   Halide Bulbs (Doc. 93);

   Motion In Limine to Preclude Testimony and Evidence of the Current Standards Related
   to Metal Halide Bulbs (Doc. 94);

   Motion In Limine to Preclude Testimony and Evidence Related to Other Incidents of Fire
   from Non-Passive Failures (Doc. 95);

   Motion In Limine to Preclude Evidence or Reference to the Plaintiff's Claim for Punitive
   Damages (Doc. 96).

6. Neither party is required to present live testimony at the June 28, 2012 hearing. Nor,

   however, shall either party be precluded from doing so.




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